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 8                                 UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                     CASE NO. 2:15-CR-00158-JAM
12                                Plaintiff,       STIPULATION REGARDING EXCLUDABLE
                                                   TIME PERIODS UNDER SPEEDY TRIAL
13                           v.                    ACT; FINDINGS AND ORDER
14   CHARLES BEAVER,                               DATE: April 26, 2016
                                                   TIME: 9:15 a.m.
15                                Defendant.       COURT: Hon. John A. Mendez
16

17                                             STIPULATION

18         Plaintiff United States of America, by and through its counsel of record, and

19 defendant, by and through defendant’s counsel of record, hereby stipulate as follows:

20         1.      By previous order, this matter was set for status on April 26, 2016.

21         2.      By this stipulation, defendant now moves to continue the status conference

22 until June 28, 2016 at 9:15 a.m., and to exclude time between April 26, 2016, and June 28,

23 2016 at 9:15 a.m., under Local Code T4.

24         3.      The parties stipulate and request that the Court find the following:

25                 a)     The government has represented that the discovery associated with

26         this case includes reports related to several firearms transactions and several hours

27         of audio recordings. All of this discovery has been either produced directly to

28         counsel and/or made available for inspection and copying.


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 1               b)      Counsel for defendant desires additional time consult with his client,

 2        conduct further investigation, review the discovery, discuss potential options for

 3        resolutions, and otherwise prepare for trial.

 4               c)      Counsel for defendant believes that failure to grant the above-

 5        requested continuance would deny him the reasonable time necessary for effective

 6        preparation, taking into account the exercise of due diligence.

 7               d)      The government does not object to the continuance.

 8               e)      Based on the above-stated findings, the ends of justice served by

 9        continuing the case as requested outweigh the interest of the public and the

10        defendant in a trial within the original date prescribed by the Speedy Trial Act.

11               f)      For the purpose of computing time under the Speedy Trial Act, 18

12        U.S.C. § 3161, et seq., within which trial must commence, the time period of April

13        26, 2016 to June 28, 2016 at 9:15 a.m., inclusive, is deemed excludable pursuant to

14        18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4] because it results from a

15        continuance granted by the Court at defendant’s request on the basis of the Court’s

16        finding that the ends of justice served by taking such action outweigh the best

17        interest of the public and the defendant in a speedy trial.

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     STIPULATION REGARDING EXCLUDABLE TIME        2
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 1        4.      Nothing in this stipulation and order shall preclude a finding that other

 2 provisions of the Speedy Trial Act dictate that additional time periods are excludable from

 3 the period within which a trial must commence.
 4        IT IS SO STIPULATED.

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 6 Dated: April 21, 2016                              BENJAMIN B. WAGNER
                                                      United States Attorney
 7
                                                      /s/ JUSTIN L. LEE
 8                                                    JUSTIN L. LEE
                                                      Assistant United States Attorney
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10 Dated: April 21, 2016                              /s/ ROBERT HOLLEY
                                                      ROBERT HOLLEY
11
                                                      Counsel for Defendant
12                                                    CHARLES BEAVER

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15
                                      FINDINGS AND ORDER
16
          IT IS SO FOUND AND ORDERED this 21st day of April, 2016.
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18                                                 /s/ John A. Mendez
                                               THE HONORABLE JOHN A. MENDEZ
19                                             UNITED STATES DISTRICT COURT JUDGE
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     STIPULATION REGARDING EXCLUDABLE TIME        3
     PERIODS UNDER SPEEDY TRIAL ACT
